 Case 2:18-cv-16119-WJM-MF Document 5 Filed 04/15/19 Page 1 of 2 PageID: 19



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                                            April 15, 2019

Via ECF

Honorable William J. Martini, U.S.D.J.
U.S. District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, MLK 4B
Newark, NJ 07101

       Re:     Wesley Gachett v. DeVille Asset Management, LTD, et al.
               Case No.: 2:18-cv-16119-WJM-MF
               Our File No.: 18-099

Dear Judge Martini:

        This firm represents the Plaintiff in the above-referenced matter. The date set forth in the
Notice of Call for Dismissal (ECF No. 4) is today, April 15, 2019. Plaintiff writes to request a
stay of this matter for the reasons outlined below.

        A civil action was filed in the United States District Court for the District of Maryland
styled Securities and Exchange Commission v. Kevin B. Merrill, et al., RDB-18-2844. The
defendants in the SEC action include Jay B. Ledford, and DeVille Asset Management, Ltd.

       On September 13, 2018, an Order Appointing Temporary Receiver (See ECF No. 11
attached as Exhibit A) was filed, which includes a Stay of Litigation (Ex. A, ¶¶ 34-36).

               34.     As set forth in detail below, the following proceedings . . . are
        stayed upon entry of this Order and until further Order of this Court: All civil
        legal proceedings of any nature, including, but not limited to, bankruptcy
        proceedings, arbitration proceedings, foreclosure actions, default proceedings, or
        other actions of any nature involving: (a) the Receiver, in his capacity as
        Receiver; (b) any Receivership Assets, wherever located; (c) any of the
        Receivership Parties, including subsidiaries and partnerships; or, (d) any of the
        Receivership Parties' past or present officers, directors, managers, agents, or
        general or limited partners sued for, or in connection with, any action taken by
        them while acting in such capacity of any nature, whether as plaintiff, defendant,
        third-party plaintiff, third-party defendant, or otherwise (such proceedings are
        hereinafter referred to as "Ancillary Proceedings").

            35.    The parties to any and all Ancillary Proceedings are enjoined from
        commencing or continuing any such legal proceeding, or from taking any action,
 Case 2:18-cv-16119-WJM-MF Document 5 Filed 04/15/19 Page 2 of 2 PageID: 20


Honorable William J. Martini, U.S.D.J.
April 15, 2019
Page 2 of 2

        in connection with any such proceeding, including, but not limited to, the
        issuance or employment of process.

               36.     All Ancillary Proceedings are stayed in their entirety, and all
        Courts having any jurisdiction thereof are enjoined from taking or permitting any
        action until further Order of this Court. . . .

        On September 26, 2018, the Securities and Exchange Commission’s Motion for
Extension of Temporary Restraining Order Freezing Assets and Granting Other Emergency
Relief and Order Appointing Temporary Receiver (ECF No. 22) was granted. This Order
continued the Stay of Litigation. (See Exhibit B).
        On October 4, 2018, a Preliminary Injunction Order, Freezing Assets, and Granting Other
Relief (ECF No. 28), was entered. (See Exhibit C).
        On October 25, 2018, an Order granting the Government’s Motion to Intervene (ECF No.
42) was granted. (See Exhibit D). Pursuant to the Order, the civil case, Securities and Exchange
Commission v. Kevin B. Merrill, et al., RDB-18-2844, “[was] stayed pending the resolution of
the criminal action in [the District of Maryland]: United States v. Kevin B. Merrill, et
al, Criminal No. RDB-18-0465.”
       To that end, consistent with the above-referenced orders, Plaintiff requests that this
matter be stayed pending the civil and criminal proceedings, and that the Notice of Call for
Dismissal (ECF No. 4) in this matter be vacated.
        Thank you for Your Honor’s time and courtesies in this matter.



                                                             Very truly yours,

                                                             s/Yongmoon Kim
                                                             Yongmoon Kim, Esq.
                                                             KIM LAW FIRM LLC
YK/jy
